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                     UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

    BRUCE BARNAUSKAS, et al.,               )      CIVIL ACTION NO. 3:19-CV-1160
                Plaintiffs                  )
                                            )
        v.                                  )
                                            )      (ARBUCKLE, M.J.)
    JP MORGAN CHASE BANK, N.A.,             )
                 Defendant                  )

                                      ORDER

        On October 26, 2021, Bruce Barnauskas and Renee Barnauskas (“Plaintiffs”)

filed a stipulation signed by counsel for all parties dismissing this case without

prejudice and without costs (Doc. 42).          The Court accepts this stipulation as

governed by Federal Rule of Civil Procedure 41(a)(1)(A)(ii).1

        Accordingly, it is ORDERED that, pursuant to the stipulation (Doc. 42):

        (1)   The Clerk of Court is DIRECTED to CLOSE this case.



Date: October 29, 2021                          BY THE COURT

                                                s/William I. Arbuckle
                                                William I. Arbuckle
                                                U.S. Magistrate Judge




1
 Rule 41(a)(1)(A)(ii) provides, in relevant part that Plaintiffs may dismiss an action
without a court order by filing “a stipulation of dismissal filed by all parties who
have appeared.”

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